
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-07-045-CV



JOHN HOLMBERG, M.D.
	
APPELLANT



V.



CHARLES JAMES
 	APPELLEE

 
	

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FROM THE 342
ND
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL A: &nbsp;MCCOY, J.; CAYCE, C.J.; and HOLMAN, J.



DELIVERED: &nbsp;June 28, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




